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                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

JAMESON TAYLOR ANDERSON,              )
ROBERT DEAN ANDERSON, and             )
ROGER MALDONADO,                      ) CONSOLIDATED CASES
                                      ) PURSUANT TO FED. R. CIV. P. 42
                  Plaintiffs,         )
                                      )
v.                                    ) Civil Action No.: 1:19-cv-05582-VMC
                                      )
USI INSURANCE SERVICES LLC,           )
                                      )
                  Defendant.          )


USI INSURANCE SERVICES LLC,           )
                                      )
                  Plaintiff,          )
                                      )
v.                                    )
                                      ) Civil Action No.: 1:20-cv-02490-VMC
SOUTHEAST SERIES OF                   )
LOCKTON COMPANIES, LLC,               )
                                      )
                  Defendant.          )
                                      )

           NOTICE OF FILING DEFENDANTS’ OBJECTIONS
              TO USI'S TESTIMONIAL DESIGNATIONS

     Plaintiffs James Taylor Anderson, Robert Dean Anderson, and Roger

Maldonado (the “Former Employees”) and Defendant Southeast Series of Lockton
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Companies, LLC’s (“Lockton,” and collectively the “Defendants”), hereby file their

objections to USI’s testimonial designations.

                 Defendants’ Objections to USI’s Designations

Dean Anderson

  Non-
  confidential
  transcript
  10:3-5
  16:25-17:6
  17:9-20
  19:23-20:8
  20:13-21:7
  21:10-22:18
  23:15-24:20
  25:3-11
  26:11-29:18
  29:21-31:21
  32:9-11        Access to confidential info is not
                 relevant evidence for any claim or
                 damages issue. Also would be
                 confusing to jury re whether there is
                 claim re confidential info. 402, 403.
  32:14-23       Access to confidential info is not
                 relevant evidence for any claim or
                 damages issue. Also would be
                 confusing to jury re whether there is
                 claim re confidential info. 402, 403.
  33:1-10        Access to confidential info is not
                 relevant evidence for any claim or
                 damages issue. Also would be
                 confusing to jury re whether there is
                 claim re confidential info. 402, 403.
                 Similarly, payment of business


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              expenses is not relevant for the same
              reasons. 402, 403.
33:13-34:15   Payment of business expenses by
              Lockton is not relevant evidence for
              any claim or damages issue. Also
              would be confusing to jury re whether
              there is claim re business expenses.
              402, 403.
34:18
34:23-36:5
36:18-10
38:14-39:21
40:20-44:12
44:16-45:2
45:15-47:4
47:9-48:8
48:11-51:7    Form objection asserted and
              maintained at 51:5-7. Question is
              ambiguous as to what is meant by
              “authority” in the group. Authority to
              do what?
51:13-52:18   Answer to question wrongfully
              omitted at 51:10-11. Rule of
              completeness.
52:21-53:1
53:4-54:5
54:8-9
54:13-55:13
55:16-59:1
59:7-60:9
61:6-9
61:12-17
61:20-62:19
63:5-66:10
67:11-68:21   Objection to 68:14 – 70:19 under
              Rules 402 and 403 because no claim
              exists for breach of Conflict of

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              Interest clause in agreement, and
              because breach of loyalty clause
              already established. Testimony will
              confuse jury regarding what claims
              exist and do not exist.
68:25         Objection to 68:14 – 70:19 under
              Rules 402 and 403 because no claim
              exists for breach of Conflict of
              Interest clause in agreement, and
              because breach of loyalty clause
              already established. Testimony will
              confuse jury regarding what claims
              exist and do not exist.
69:12-71:10   Objection to 68:14 – 70:19 under
              Rules 402 and 403 because no claim
              exists for breach of Conflict of
              Interest clause in agreement, and
              because breach of loyalty clause
              already established. Testimony will
              confuse jury regarding what claims
              exist and do not exist.
71:22-74:3
74:6-10
74:12-18
74:21-76:3
76:13-77:22
77:25-78:9
78:23-79:10
79:16-80:15
81:6-81:23

82:6-83:11
83:20-86:20   Answer to question wrongfully omitted at
              86:21. Rule of completeness.
86:24-87:17
87:20-88:4    Testimony should be added from 88:5 –
              89:7 to complete testimony re Sterling and
              reason for considering other jobs. Rule of


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                completeness.
89:8-96:3
96:10
96:14-105:7
105:20-106:4
106:5-110:6 Object to testimony at 107:13-109:14
                because testimony re family dispute about
                advice-giving is not relevant and is more
                prejudicial than probative. Rules 402 & 403.
                Not relevant to any claim or damages issue
                in the case.
                Also, answer omitted improperly so Rule of
                Completeness requires adding testimony at
                110:7-16.
110:17-122:18
122:24-124:25
125:4-23
126:3-129:6
129:9-130:22 Rule of Completeness requires including
                short colloquy between counsel that
                clarified question to which witness
                responded. Add testimony at 130:23 –
                131:2.
131:4-22
131:25
132:11-133:7 Question at 133:4-7 was withdrawn by
                counsel who asked another question before
                witness could answer. Withdrawn question
                should be excluded under 402, 403.
133:11-140:23
141:3-9
141:16-20
143:16-146:4 145:8 – 146:4 – improper testimony about
                damages indemnity should be precluded by
                collateral source rule.
146:12-21
146:24-147:1
147:3-23
148:1-150:12
150:22-151:24


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152:2-155:15 152:2-154:3, ex. 165 – 402 questions re
               Lockton covenants with employees are not
               relevant or related to any claim or damages
               issues.
155:18-163:20
164:5-165:24 Testimony at 165:21 – 166:1 should be
               excluded because the question lacks
               foundation (R. 602) and assumes facts not in
               evidence. Further, witness’s awareness is
               not relevant, 402.
166:1
166:8-13
166:24-168:20 Testimony at 166:24 – 167:3 should be
               excluded because the question lacks
               foundation (R. 602) and assumes facts not in
               evidence. Further, witness’s awareness is
               not relevant, 402.
168:23         171:4-172:18, exhibit 151 should be
               excluded because Patel’s activities are not
               relevant to a claim or damages issues and
               suggestions of improper conduct by Patel
               would be unduly prejudicial to defendants.
               401 & 403
171:4-172:18
172:21-22    Testimony at 172:21-173:21 and exhibit 173
               should be excluded because Patel’s
               activities are not relevant to a claim or
               damages issues and suggestions of improper
               conduct by Patel would be unduly
               prejudicial to defendants. 401 & 403
173:1-174:10




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175:16-22
179:20-188:4
188:7-191:2 188:14 - 191:2 testimony should be excluded
              because whether and to what extent counsel
              assisted in drafting letter is not relevant
              under 402 or should be excluded under 403.
191:23-193:12 188:14 - 191:2 testimony should be excluded
              because whether and to what extent counsel
              assisted in drafting letter is not relevant
              under 402 or should be excluded under 403.
194:9-11
194:13-195:8
195:11-196:6
196:14-197:9
197:15-198:5
198:10-20
198:25-199:21
199:25-203:9
203:25-204:6
204:9-15
204:21-25
205:4-207:21 Testimony at 206:11 - 207:5 should be
               excluded because testimony re attorney
               representation of co-defendants is not
               relevant under 402 or should be excluded
               under 403.
               Testimony at 207:16 – 209:7 regarding the
               claims asserted by the former employees in a
               Declaratory Judgment Act lawsuit is not
               related to any claim or damages issue and
               thus is not relevant under 402 or should be
               excluded under 403.
208:2-11
208:15-210:12
210:16-211:9 Testimony at 210:9-12 should be excluded
               because it assumes facts not in evidence
               regarding an incorrect date for Patel’s
               resignation and there is no foundation (R.
               602) for the question.



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211:12-218:22
218:25-219:22
219:25-220:9 Testimony from 220:3 – 221:18 should be
              excluded because counsel is badgering the
              witness and asking the same question
              repeatedly; testimony should also be
              excluded as asked & answered.
220:14-19     Testimony from 220:3 – 221:18 should be
              excluded because counsel is badgering the
              witness and asking the same question
              repeatedly; testimony should also be
              excluded as asked & answered.
220:22-221:16 Testimony from 220:3 – 221:18 should be
              excluded because counsel is badgering the
              witness and asking the same question
              repeatedly; testimony should also be
              excluded as asked & answered.
221:18-222:16
222:19-223:6
223:9-226:16
226:19
227:4-16
228:1-230:23
231:2-10      Counsel’s clarifying objection at 231:12-15
              should be included for completeness because
              it clarifies the context of the question and
              confirms that the witness was not asked
              about privileged communications.
231:17-234:11 232:15-233:16 – improper/misleading Q
              continuing agreement to terms and starting
              employment
234:23-243:7
243:17-21
244:1-246:19 Testimony at 246:15-19 re Manoj Sharma’s
                licensing status should be excluded for lack
                of foundation (R. 602), no relevance under
                402, and prejudice under 403.
                Testimony from 247:1 – 255:23 should be
                included regarding witnesses time living and
                working in Charlotte NC under the Rule of
                Completeness given the extensive testimony
                included in the examination regarding those


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             subjects.
255:24-256:4 Testimony at 256:5-22 should be included
             pursuant to the Rule of Completeness.


258:3-10
258:14-15    Testimony from 258:22 – 259:19 should be
             included pursuant to the Rule of
             Completeness.
260:12-261:5 Testimony from 261:13 – 262:12 should be
             included pursuant to the Rule of
             Completeness.
263:10-20
264:1-265:5
265:8-266:17 This testimony and Ex. 152 should be
                excluded under Rule 402 as not relevant to
                any claim or damages issue.
266:24-268:4
268:21-271:16 Testimony at 269:22 – 271:16 should be
             excluded because lunch with underwriters,
             who are not clients, is not relevant to any
             claim or damages issue, 402; and if
             minimally relevant the untrue implication
             that underwriters are clients makes the
             testimony inadmissible under Rule 403.
271:19-273:2 Testimony at 271:19-273:2 should be
             excluded because lunch with underwriters,
             who are not clients, is not relevant to any
             claim or damages issue, 402; and if
             minimally relevant the untrue implication
             that underwriters are clients makes the
             testimony inadmissible under Rule 403.
273:9-274:14 Testimony at 273:9-274:14 should be
             excluded because lunch with underwriters,
             who are not clients, is not relevant to any
             claim or damages issue, 402; and if
             minimally relevant the untrue implication
             that underwriters are clients makes the
             testimony inadmissible under Rule 403.
275:9-278:6




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278:9-279:24 Counsel’s objection at 279:25 must be
                 included to give context for why witness did
                 not answer/counsel withdrew question
                 immediately prior to the objection. Rule of
                 Completeness.
280:2-5
280:7-10
280:14
280:20-282:1 This testimony should be excluded because
              it relates only to communications with
              clients after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
282:4-12      This testimony should be excluded because
              it relates only to communications with
              clients after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
282:15-283:10 This testimony should be excluded because
              it relates only to communications with
              clients after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
              Additionally, Ex. 207 should be excluded
              because it is internal client communication
              that does not include a party and there is no
              foundation (R. 602) for it, it is hearsay 802,
              and not relevant under 402.
283:13-284:7 This testimony should be excluded because
              it relates only to communications with
              clients after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
284:16-20
284:23-288:25

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289:3-290:14 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
290:17-291:20 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
291:23        This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
292:3-293:8 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
293:11-296:17 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
297:11-298:6 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
298:9-299:7 This testimony should be excluded because
              it relates only to communications with client


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              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
299:10        This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
299:15-18     This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
299:24-300:12 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
300:15-24     This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
301:2-302:9 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
302:14-303:1 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not


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                impact USI’s liability or damages claims.
                Testimony should be excluded under 402 &
                403.
304:6-306:5     Testimony at 306:7-14 should be included
                pursuant to Rule of Completeness.
306:15-23
307:1-308:1  Testimony at 308:2-6 should be included
             pursuant to Rule of Completeness.
             Also, this testimony should be excluded
             because it relates only to communications
             with client after the client moved its
             business to Lockton, and thus the testimony
             could not impact USI’s liability or damages
             claims. Testimony should be excluded
             under 402 & 403.
308:9-24     This testimony should be excluded because
             it relates only to communications with client
             after the client moved its business to
             Lockton, and thus the testimony could not
             impact USI’s liability or damages claims.
             Testimony should be excluded under 402 &
             403.
309:2-3      This testimony should be excluded because
             it relates only to communications with client
             after the client moved its business to
             Lockton, and thus the testimony could not
             impact USI’s liability or damages claims.
             Testimony should be excluded under 402 &
             403.
309:6-15     This testimony should be excluded because
             it relates only to communications with client
             after the client moved its business to
             Lockton, and thus the testimony could not
             impact USI’s liability or damages claims.
             Testimony should be excluded under 402 &
             403.
309:18-310:1 This testimony should be excluded because
             it relates only to communications with client
             after the client moved its business to
             Lockton, and thus the testimony could not
             impact USI’s liability or damages claims.
             Testimony should be excluded under 402 &
             403.



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310:4-15      This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
310:18-311:2 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
311:5-15      This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
311:18-312:1 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
312:4-313:1 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
313:16-314:17 This testimony should be excluded because
              it relates only to communications with client
              after the client moved its business to
              Lockton, and thus the testimony could not
              impact USI’s liability or damages claims.
              Testimony should be excluded under 402 &
              403.
314:21-315:3


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315:9-317:3
317:24-318:3
318:10-322:2 Colloquy at 318:4-8 should be included
                 because USI’s counsel marked the original
                 exhibit and jury should understand that
                 markings were not on the original records.
322:5-8
322:19-24
323:2
323:6-21      Exhibit 166 and accompanying testimony
              should be excluded due to lack of
              foundation R 602 because the witness does
              not know its origin or source; and the
              witness disclaimed knowledge of whether
              the list was “his”. This testimony and Ex.
              166 also should be excluded under 401 &
              403 because any contact list of the witness
              from his employment with USI was
              removed from witness’s phone prior to
              resignation from USI and thus he never
              possessed the list at any time relevant to the
              claims or damages issues in this case.
325:15-328:8 Question at 326:20 – 25 should be excluded
              due to lack of foundation (R. 602) and
              assumes facts not in evidence. 402 & 403.
328:11-20     Testimony and Ex. 23 – should be excluded
              as hearsay under 802 and no foundation
              under 602.
328:23-329:10 Testimony and Ex. 39 – should be excluded
              as hearsay under 802 and no foundation
              under 602
329:13-330:2
330:5-21     Testimony and Ex. 53 should be excluded
                 because it relates to communications with
                 client after the client moved its business to
                 Lockton, and thus the testimony could not
                 impact USI’s liability or damages claims.
                 Testimony and exhibit should be excluded
                 under 402 & 403.




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 331:7-23      Testimony and Ex. 90 should be excluded
               because it relates to communications with
               client after the client moved its business to
               Lockton, and thus the testimony could not
               impact USI’s liability or damages claims.
               Testimony and exhibit should be excluded
               under 402 & 403..
 332:7-333:2 Testimony and Ex. 91 should be excluded
               because it relates to communications with
               client after the client moved its business to
               Lockton, and thus the testimony could not
               impact USI’s liability or damages claims.
               Testimony and exhibit should be excluded
               under 402 & 403.
 333:5-337:7 Testimony at 337:3-7 should be excluded
               because it lacks foundation under 602 and
               assumes facts not in evidence
 337:8-339:5 Testimony at 337:8-339:25 should be
               excluded under 401 & 403 because this
               intra-family conflict between father and son
               is not relevant to any claim or damages
               issues in the case, and is more prejudicial
               than probative under 403.
 339:10-339:25 Testimony at 337:8-339:25 should be
               excluded under 401 & 403 because this
               intra-family conflict between father and son
               is not relevant to any claim or damages
               issues in the case, and is more prejudicial
               than probative under 403.



Tim Cantrell

USI’s                  Objection(s)                            Response
Designations
10:12-13
11:6-7
16:24-18:12
18:19-19:6
19:9-24:17
24:24-25:22


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26:1-27:14
27:19-23
28:9-28:13
28:16-30:11
30:15-31:7
31:10-32:2
32:21-22
32:25-35:25
36:18-38:1
38:12-25
39:6-16
39:20-23
40:3-20
40:24-41:11
41:15-41:25
42:9-11
42:14
42:16-43:25
43:6-45:9
45:13-46:5
46:19-23
49:5-7
49:11-50:18
51:2-3
51:7-20
51:25-53:10
53:22-54:7
55:2-16
55:19-56:2
56:7-58:15
58:19-61:2        59:20-60:5        Hearsay      and
                  relevance- the document includes
                  language from a third party
                  incorrectly stating the nature of a
                  non compete.
61:6-62:21


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62:25-65:4
65:8-66:5         65:8-17 lack of foundation
66:9-67:3
67:7-67:19
67:23-68:4
68:9-20
68:24-69:9
69:13-70:5
70:9-70:20
70:25-71:3
71:7-18
71:22-72:3
72:6-73:7
73:11-74:1
74:4-74:20
74:23-75:7
75:18-77:2
86:12-13
86:17-21
86:25-87:24
88:3-89:18
89:21-90:13
91:20-21
91:25-92:11
92:14-93:1
101:2-4
101:8-18
102:3-15
102:20-103:9
103:14-104:8
104:11-12
105:13-20
106:6-14
106:18-107:5
107:24-108:2
109:14-15


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109:19-111:11
111:15-112:7
112:10-113:8
114:5-10
Exhibit 3        Lack of Foundation
Exhibit 10
Exhibit 11       Lack of Foundation
Exhibit 12       Lack of Foundation
Exhibit 13       Lack of Foundation
Exhibit 14
Exhibit 15
Exhibit 16       Lack of Foundation
Exhibit 17       Lack of Foundation
Exhibit 19       Hearsay.
Exhibit 20
Exhibit 22
Exhibit 26
Exhibit 29
Exhibit 30
Exhibit 31
Exhibit 32
Exhibit 35
Exhibit 36
Exhibit 40
Exhibit 44
Exhibit 45
Exhibit 50
Exhibit 59
Exhibit 63
Exhibit 64
USI’s COUNTER
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Kimberly Grier


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145:18-146:7 Relevance and FRE403. Ms. Grier’s
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180:9-181:21 Relevance and 403. No claim for
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208:4-13       Lack of foundation and relevance.
               The Witnesses lack of knowledge is
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208:17         Lack of foundation and relevance.
               The Witnesses lack of knowledge is
               not relevant to any issue in this case.
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222:17-223:9 Relevance and 403. The loss of a
              contacts has no relevance to any
              issue in this case, and there is not
              claim or allegation of spoliation.
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              claim or argument of any violation of
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Exhibit 36
Exhibit 37
Exhibit 38
Exhibit 40
Exhibit 43
Exhibit 44


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Exhibit 46
Exhibit 49     Relevance
Exhibit 50
Exhibit 51
Exhibit 54
Exhibit 56
Exhibit 58
Exhibit 59
Exhibit 62
Exhibit 73
Exhibit 74
Exhibit 91
Exhibit 92
Exhibit 93     Relevance. No claim for theft of
               confidential information remains.
Exhibit 94     Hearsay

Don Kirlin


USI’s          Objection(s)                           Response
Designations
6:25-7:1
8:21-9:7
9:18-10:1
10:9-21
11:8-13:13
14:5-20        Testimony is taken out of context
               and under Federal Rule 106 (“Rule
               of Completeness”) additional
               context must be included,
               specifically 14:21-15:2 to provide
               a full and fair understanding of Mr.
               Sosa’s testimony and to avoid
               misleading the jury and distorting
               the facts.
15:3-11

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15:21-16:19
17:2-16
18:5-22
21:3-22:8     Testimony is taken out of context
              and under Federal Rule 106 (“Rule
              of Completeness”) additional
              context must be included,
              specifically 22:9 to provide a full
              and fair understanding of Mr.
              Sosa’s testimony and to avoid
              misleading the jury and distorting
              the facts.
23:5-20
24:19-25:9
26:2-4
26:15-28:3    Testimony is taken out of context
              and under Federal Rule 106 (“Rule
              of Completeness”) additional
              context must be included,
              specifically 26:16-26:9 to provide
              a full and fair understanding of Mr.
              Sosa’s testimony and to avoid
              misleading the jury and distorting
              the facts.
28:19-31:15
32:4-6
32:14-33:2    The testimony at 32:14-20 is
              irrelevant under Federal Rule 401
              and should be excluded pursuant
              to Federal Rule 402.
33:15-35:1
35:5-15
37:14-16      This testimony is irrelevant under
              Federal Rule 401 and should be
              excluded pursuant to Federal Rule
              402.
38:3-10


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38:21-41:9
42:4-12
43:7-44:9
44:23-45:22
46:22-25
47:4-21
47:25-48:1
48:5-51:19
51:23-53:20
54:11-55:25
56:7-57:14
57:18-58:4
58:15-61:1
61:5-62:15
62:23-63:15
63:19-64:5
65:2-25
66:6-67:11
67:17-68:12
68:16-69:3
69:7-8
70:2-6
70:17-72:7
72:11-17
72:21-76:25
77:4-9
77:12-15
77:20-22
78:2-5
78:9
78:14-81:13
81:20-82:1
82:5-83:10
83:16-84:8
84:12-17
85:20-87:10


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90:12-91:1
91:6-14
91:18-92:13    This testimony is irrelevant under
               Federal Rule 401 and should be
               excluded pursuant to Federal Rule
               402.
92:17-93:17    This testimony is irrelevant under
               Federal Rule 401 and should be
               excluded pursuant to Federal Rule
               402.
94:1-23        Testimony is taken out of context
               and under Federal Rule 106 (“Rule
               of Completeness”) additional
               context must be included,
               specifically 94:24-95:2 to provide
               a full and fair understanding of Mr.
               Sosa’s testimony and to avoid
               misleading the jury and distorting
               the facts.
95:7-10
95:20-96:12
96:15-97:12
97:22-99:18
99:22-100:17
101:1-4
105:4-8
105:14-106:6
106:10-16
USI’s
Counter
Designations
101:24-25




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Jameson Salmon


USI’s          Objection(s)                         Response
Designations
9:6-8
16:1-16
17:8-20:21
22:2-23:8
24:10-22
26:9-29:19
30:8-13
33:12-34:5     Testimony is taken out of context
               and under Federal Rule 106
               (“Rule      of     Completeness”)
               additional context must be
               included, specifically 34:6-13 to
               provide a full and fair
               understanding of Mr. Salmon’s
               testimony and to avoid misleading
               the jury and distorting the facts.
35:14-39:14
40:1-41:9
41:12-44:2
44:5-45:11
46:11-48:5
49:2-9
49:13-18
49:20-50:4     The testimony at 50:2-4 is
               irrelevant under Federal Rule 401
               and should be excluded pursuant
               to Federal Rule 402.
50:12-18       The testimony at 50:12-15 is
               irrelevant under Federal Rule 401
               and should be excluded pursuant
               to Federal Rule 402.
50:22-51:8


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51:14
51:18-52:5
52:9-53:10
53:14-54:3
54:6-54:15
54:19-20
55:2-56:16    Testimony is taken out of context
              and under Federal Rule 106
              (“Rule      of     Completeness”)
              additional context must be
              included, specifically 56:17-21 to
              provide a full and fair
              understanding of Mr. Salmon’s
              testimony and to avoid misleading
              the jury and distorting the facts.
57:1-58:19
58:22-60:18
60:22-61:8
61:12-63:8
63:14-64:4
64:7-65:16
65:20-67:22
68:5-69:10
69:15-22
69:25-70:2
70:8-72:14
72:17-73:4
73:8-74:20
74:24-75:3
75:7-76:6
76:10-18
76:22-77:12
77:16-19
77:25-78:11   This testimony is irrelevant under
              Federal Rule 401 and should be
              excluded pursuant to Federal Rule
              402.

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78:15-79:14    This testimony is irrelevant under
               Federal Rule 401 and should be
               excluded pursuant to Federal Rule
               402.
79:18-81:8     The testimony at 79:18-23 is
               irrelevant under Federal Rule 401
               and should be excluded pursuant
               to Federal Rule 402.
81:12-82:25    This testimony is irrelevant under
               Federal Rule 401 and should be
               excluded pursuant to Federal Rule
               402.
83:4-84:22     The testimony at 83:4-17 is
               irrelevant under Federal Rule 401
               and should be excluded pursuant
               to Federal Rule 402.
85:1-3
89:21-22
90:1-23
 USI’s
Counter
Designations
33:10-11
48:6-10

David Sosa


USI’s          Objection(s)
Designations
9:1-3
11:4-5
12:5-12
20:17-23:7
31:23-32:2     Testimony is taken out of context
               and under Federal Rule 106
               (“Rule    of     Completeness”)


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              additional context must be
              included, specifically 32:3-33:24
              to provide a full and fair
              understanding of Mr. Sosa’s
              testimony     and     to    avoid
              misleading the jury and distorting
              the facts.
33:25-34:3
34:7-35:11
35:18-37:14
38:11-23
44:13-25
46:12-25
47:13-48:9
48:25-49:7
49:14-17
49:24-50:3    Testimony is taken out of context
              and under Federal Rule 106
              (“Rule     of     Completeness”)
              additional context must be
              included, specifically 50:3-50:21
              to provide a full and fair
              understanding of Mr. Sosa’s
              testimony     and     to    avoid
              misleading the jury and distorting
              the facts.
50:22-51:12
52:5-17       Testimony is taken out of context
              and under Federal Rule 106
              (“Rule     of     Completeness”)
              additional context must be
              included, specifically 52:18-
              52:22 to provide a full and fair
              understanding of Mr. Sosa’s
              testimony     and     to    avoid
              misleading the jury and distorting
              the facts.


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52:23-54:16
54:20-55:9
55:19-56:16   Testimony is taken out of context
              and under Federal Rule 106
              (“Rule     of     Completeness”)
              additional context must be
              included, specifically 56:16-
              56:24 to provide a full and fair
              understanding of Mr. Sosa’s
              testimony     and     to    avoid
              misleading the jury and distorting
              the facts.
56:25-57:2
57:7-10       Testimony is taken out of context
              and under Federal Rule 106
              (“Rule     of     Completeness”)
              additional context must be
              included, specifically 57:11-
              57:13 to provide a full and fair
              understanding of Mr. Sosa’s
              testimony     and     to    avoid
              misleading the jury and distorting
              the facts.
58:11-14
58:18-59:11   Object to the introduction of
              Exhibit No. 48 and discussion of
              the same as Mr. Sosa lacks
              personal knowledge of the
              exchange       between      Taylor
              Anderson and Mr. Dodson and
              when asked if he was involved in
              the subject matter, he testified
              that “I was not, not directly. This
              is the first time I’m seeing this
              document.”        58:6-8.      This
              testimony is inadmissible under
              Federal Rule 602 and the


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                 evidence fails to meet the
                 requirements of Federal Rule 901.
60:5             Object to the introduction of
                 Exhibit No. 39 and discussion of
                 the same as Mr. Sosa lacks
                 personal knowledge of the
                 exchange       between      Taylor
                 Anderson and Mr. Dodson and
                 when asked if he was involved in
                 the subject matter, he testified
                 that “I was not, not directly. This
                 is the first time I’m seeing this
                 document.”        58:6-8.      This
                 testimony is inadmissible under
                 Federal Rule 602 and the
                 evidence fails to meet the
                 requirements of Federal Rule 901.
60:8-61:6        Object to the introduction of
                 Exhibit No. 39 and discussion of
                 the same as Mr. Sosa lacks
                 personal knowledge of the
                 exchange       between      Taylor
                 Anderson and Mr. Dodson and
                 when asked if he was involved in
                 the subject matter, he testified
                 that “I was not, not directly. This
                 is the first time I’m seeing this
                 document.”        58:6-8.      This
                 testimony is inadmissible under
                 Federal Rule 602 and the
                 evidence fails to meet the
                 requirements of Federal Rule 901.
62:24-63:4       The question proposed by USI’s
                 counsel at 63:1-63:4 misstates
                 Taylor      Anderson’s       sworn
                 testimony. Contrary to the
                 statement made in counsel’s


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               question, Taylor Anderson did
               not testify that “he’d changing
               firms to Lockton.” Instead,
               Taylor Anderson testified that
               when pressed by Mr. Sosa as to
               where Taylor Anderson might go
               if he left USI, Taylor Anderson,
               “informed [Mr. Sosa] that it
               would be somewhere like
               Lockton.” T. Anderson Dep.
               211:15 (emphasis added). Federal
               Rule 611(a).
63:8-64:9      Testimony is taken out of context
               and under Federal Rule 106
               (“Rule       of     Completeness”)
               additional context must be
               included, specifically 64:10-14 to
               provide a full and fair
               understanding of Mr. Sosa’s
               testimony       and     to     avoid
               misleading the jury and distorting
               the facts.
64:15-65:9     The question proposed by USI’s
               counsel at 64:25-65:2 misstates
               Taylor       Anderson’s       sworn
               testimony. Contrary to the
               statement made in counsel’s
               question, Taylor Anderson did
               not testify that “he told [Mr. Sosa]
               he was going to Lockton before
               he made the move to Lockton.”
               Instead,      Taylor       Anderson
               testified that when pressed by Mr.
               Sosa as to where Taylor Anderson
               might go if he left USI, Taylor
               Anderson, “informed [Mr. Sosa]
               that it would be somewhere like


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               Lockton.” T. Anderson Dep.
               211:15 (emphasis added). Federal
               Rule 611(a).
65:20-23
66:12-14
66:17-68:3
69:2-18
70:10-12       Testimony is taken out of context
               and under Federal Rule 106
               (“Rule     of     Completeness”)
               additional context must be
               included, specifically 70:12-19 to
               provide a full and fair
               understanding of Mr. Sosa’s
               testimony     and      to   avoid
               misleading the jury and distorting
               the facts.
71:2-11
74:8-76:2
76:10-24
77:7-78:9      The question proposed by USI’s
               counsel at 78:2-4 misstates both
               Taylor     Anderson’s       sworn
               testimony and David Sosa’s
               sworn testimony. At no point
               during     Taylor     Anderson’s
               deposition or Mr. Sosa’s
               deposition was it established that
               Taylor Anderson informed David
               Sosa that he would definitely be
               leaving USI and joining Lockton.
               As a result of Counsel’s unfair
               question, Mr. Sosa’s testimony
               from 78:2-9 should be excluded
               pursuant to Federal Rule 611(a)
               as it is likely to confuse and
               mislead the jury.


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78:20-79:3       Counsel continues to propose the
                 same improper and unfounded
                 question at 79:1-3 and thus this
                 testimony should be should be
                 excluded pursuant to Federal
                 Rule 611(a) as it is likely to
                 confuse and mislead the jury.
79:9             Counsel continues to propose the
                 same improper and unfounded
                 question at 79:1-3 and thus this
                 testimony should be should be
                 excluded pursuant to Federal
                 Rule 611(a) as it is likely to
                 confuse and mislead the jury.
79:11-14         This testimony is irrelevant under
                 Federal Rule 401 and should be
                 excluded pursuant to Federal
                 Rule 402.
81:20-82:7       The question proposed by USI’s
                 counsel at 82:5-7 misstates both
                 Taylor     Anderson’s       sworn
                 testimony and David Sosa’s
                 sworn testimony. At no point
                 during     Taylor      Anderson’s
                 deposition or Mr. Sosa’s
                 deposition was it established that
                 Taylor Anderson informed David
                 Sosa that he would definitely be
                 leaving USI and joining Lockton.
                 As a result of Counsel’s unfair
                 question, Mr. Sosa’s testimony
                 from 81:20-82:7 should be
                 excluded pursuant to Federal
                 Rule 611(a) as it is likely to
                 confuse and mislead the jury.
82:10-83:16      The question proposed by USI’s
                 counsel at 82:5-7 misstates both


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              Taylor       Anderson’s       sworn
              testimony and David Sosa’s
              sworn testimony. At no point
              during      Taylor      Anderson’s
              deposition or Mr. Sosa’s
              deposition was it established that
              Taylor Anderson informed David
              Sosa that he would definitely be
              leaving USI and joining Lockton.
              As a result of Counsel’s unfair
              question, Mr. Sosa’s testimony
              from 82:10-83:16 should be
              excluded pursuant to Federal
              Rule 611(a) as it is likely to
              confuse and mislead the jury.
83:20-84:12   This testimony was contorted by
              USI’s counsel’s unfair and
              inaccurate insistence that prior to
              his departure from USI Taylor
              Anderson had a call with Mr.
              Sosa in which Taylor Anderson
              informed Mr. Sosa that he was
              joining Lockton. Despite repeated
              assertions by USI’s counsel –
              over Defendant’s objections –
              there is no evidence to support
              this assertion. As a result of USI’s
              counsel misstatements, Mr.
              Sosa’s testimony on the phone
              calls prior to December 9, 2019
              should be excluded.
84:18-85:2    This testimony was contorted by
              USI’s counsel’s unfair and
              inaccurate insistence that prior to
              his departure from USI Taylor
              Anderson had a call with Mr.
              Sosa in which Taylor Anderson


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              informed Mr. Sosa that he was
              joining Lockton. Despite repeated
              assertions by USI’s counsel –
              over Defendant’s objections –
              there is no evidence to support
              this assertion. As a result of USI’s
              counsel misstatements, Mr.
              Sosa’s testimony on the phone
              calls prior to December 9, 2019
              should be excluded.
85:5-7        This testimony was contorted by
              USI’s counsel’s unfair and
              inaccurate insistence that prior to
              his departure from USI Taylor
              Anderson had a call with Mr.
              Sosa in which Taylor Anderson
              informed Mr. Sosa that he was
              joining Lockton. Despite repeated
              assertions by USI’s counsel –
              over Defendant’s objections –
              there is no evidence to support
              this assertion. As a result of USI’s
              counsel misstatements, Mr.
              Sosa’s testimony on the phone
              calls prior to December 9, 2019
              should be excluded.
85:11-86:1
86:7-87:5     Testimony is taken out of context
              and under Federal Rule 106
              (“Rule     of     Completeness”)
              additional context must be
              included, specifically 87:6-88:25
              to provide a full and fair
              understanding of Mr. Sosa’s
              testimony     and     to    avoid
              misleading the jury and distorting
              the facts.


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89:1-91:6
91:10          Exhibit 8 and this entire line of
               questioning should be excluded
               as Mr. Sosa testified, “I have no
               idea” who the document was sent
               to or how it was produced. 92:6.
91:13-92:12    Exhibit 8 and this entire line of
               questioning should be excluded
               as Mr. Sosa testified, “I have no
               idea” who the document was sent
               to or how it was produced. 92:6.
92:16-22       Exhibit 5 and this entire line of
               questioning should be excluded
               as Mr. Sosa was not a recipient of
               the document did not even discuss
               it with anyone (93:1), and thus the
               evidence fails to meet the
               requirements of Federal Rule 901.
93:9-94:12
94:15-96:18
97:3-99:7
99:11-100:18   Testimony is taken out of context
               and under Federal Rule 106
               (“Rule     of     Completeness”)
               additional context must be
               included, specifically 100:19-24
               to provide a full and fair
               understanding of Mr. Sosa’s
               testimony     and      to   avoid
               misleading the jury and distorting
               the facts.
100:25-101:3   Testimony is taken out of context
               and under Federal Rule 106
               (“Rule     of     Completeness”)
               additional context must be
               included, specifically 101:L4-9 to
               provide a full and fair


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              understanding of Mr. Sosa’s
              testimony      and    to    avoid
              misleading the jury and distorting
              the facts.
101:10-24     Testimony is taken out of context
              and under Federal Rule 106
              (“Rule      of    Completeness”)
              additional context must be
              included, specifically 101:25-
              102:8 to provide a full and fair
              understanding of Mr. Sosa’s
              testimony      and    to    avoid
              misleading the jury and distorting
              the facts.
102:9-103:3   The testimony at 102:21-103:3 is
              inadmissible hearsay. Further, the
              proposed testimony is taken out
              of context and under Federal Rule
              106 (“Rule of Completeness”)
              additional context must be
              included, specifically 103:4-9 to
              provide a full and fair
              understanding of Mr. Sosa’s
              testimony      and    to    avoid
              misleading the jury and distorting
              the facts.
103:10-15     Testimony is taken out of context
              and under Federal Rule 106
              (“Rule      of    Completeness”)
              additional context must be
              included, specifically 103:16-19
              to provide a full and fair
              understanding of Mr. Sosa’s
              testimony      and    to    avoid
              misleading the jury and distorting
              the facts.



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103:20-104:2    Testimony is taken out of context
                and under Federal Rule 106
                (“Rule     of     Completeness”)
                additional context must be
                included, specifically 104:3-7 to
                provide a full and fair
                understanding of Mr. Sosa’s
                testimony     and     to    avoid
                misleading the jury and distorting
                the facts.
105:3-106:19
106:23-25
107:2-22        Testimony is taken out of context
                and under Federal Rule 106
                (“Rule      of    Completeness”)
                additional context must be
                included,      specifically    the
                testimony ends on a question
                from USI’s counsel but does not
                allow include Mr. Sosa’s
                response at 107:23-108:4 which
                should be included to provide a
                full and fair understanding of Mr.
                Sosa’s testimony and to avoid
                misleading the jury and distorting
                the facts.
108:8-22
109:1-20
109:24
110:2-111:9
112:10-11
112:14-115:1
115:11-116:14
116:25-117:6
117:10-14
117:18-24
118:3-11


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118:14-15
118:24-119:17
120:11-12
120:15-121:21
123:16-20     Testimony is taken out of context
              and under Federal Rule 106
              (“Rule      of     Completeness”)
              additional context must be
              included, specifically 123:20-24
              should be included to provide a
              full and fair understanding of Mr.
              Sosa’s testimony and to avoid
              misleading the jury and distorting
              the facts.
123:25-124:10 Mr.     Sosa     lacks    personal
              knowledge of who works on the
              Brightwater accounts at Lockton.
              He testified “I don’t have direct
              involvement.. I don’t know who
              that team consists of.” 124:4-7.
              Thus,      this    testimony     is
              inadmissible under Federal Rule
              602.
133:2
133:12-15
136:10-137:16
140:3-13
142:14-143:7
145:13-146-1
146:17-22
147:1-7
147:11-14
162:22-163:12
164:22-166:6




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Counter        Objections
Designations
14:10-16
65:10-13
88:13-14
107:23
137:25-138:2
138:5-15
138:21-139:9
139:15-24

Roger Smith

USI’s          Objection(s)                        Response
Designations
8:5-7
10:18-19
14:5-14
15:3-17:12     Not relevant, FRE 401
18:2-21
19:5-24
20:10-23:15    Leading, FRE 611(c) (Dep. at
               22:19–25)
23:19-24:10
24:11-24       Rule of Completeness requires
               inclusion of 24:25–25:10, FRE 106
25:19-25       Leading, assumes facts not in
               evidence, FRE 602, 611
26:5-25
27:3-12        Leading, assumes facts not in
               evidence, FRE 602, 611; improper
               impeachment evidence, FRE 608
27:24-28:6     Improper impeachment evidence,
               FRE 608
28:9-29:13     Improper impeachment evidence,
               FRE 608 (Dep. at 28:9–12);



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29:21-32:22   Lack of personal
              knowledge/speculation, FRE 602
              (Dep. at 32:15–22)
33:5-7
34:8-20
35:17-37:2
37:19-39:4    Asked and answered/needlessly
              cumulative, FRE 403 (Dep. at
              37:19–38:8, 39:1–4)
39:9-22       Leading, assumes facts not in
              evidence, FRE 602, 611
40:5-22       Leading, assumes facts not in
              evidence, FRE 602, 611
41:5
41:18-42:11   Leading, assumes facts not in
              evidence, FRE 602, 611; misstates
              prior testimony
42:14-18      Compound/argumentative, FRE
              403, 611(a)
42:20-44:1    Speculation/lack of personal
              knowledge & leading, FRE 602, 611
44:4-9        Speculation/lack of personal
              knowledge, FRE 602
44:12-23      Leading, FRE 611 (Dep. at 44:21–
              23)
45:1-18       Leading, assumes facts not in
              evidence, FRE 602, 611 (Dep. at
              45:8–9, 45:16–18)
45:21-47:9    Needlessly cumulative (Dep. at
              46:17–47:9)
47:22-24
48:2-49:6
50:12-51:10   Rule of Completeness requires
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     Respectfully submitted this 2nd day of May, 2023.

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                        RULE 7.1.D CERTIFICATE

     The undersigned counsel certifies that this document has been prepared with

Times New Roman 14-point font in accordance with Local Rule 5.1.C.

                                    /s/ Warren R. Hall, Jr.
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